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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

E|ectronic Privacy information Center

 

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civil Acuon No. 1¢13'¢‘/'01848 (BAH)

V.

Department ot Justice

 

Defen dam

SUMMONS IN A ClVIL ACT[ON

TOZ (Defendanr 's name and address)

United States Attorney for the District of Columbia
c/o Civi| Process C|erk

555 4th St. NW

Washingtor\, DC 20530

A lawsuit has been filed against you.

Within 30 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal R.ules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff"s attorney, whose name and

address are: Mam Ho¢enberg

Electronic Privacy |niormation Center
1718 Connecticut Ave., NW

Suite 200

Washington, DC 20009

If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint You also must tile your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

 

Signamre ofClerk or Depuly Clerk

